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7                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
8                                   MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
10                                                      Civil Action No. 1:24-cv-00648-AA
     ARNAUD PARIS,
11                                                      PETITIONER'S EMERGENCY
                                  Petitioner,           MOTION FOR UNSUPERVISED
12
     and                                                AND DIRECT COMMUNICATION
13                                                      WITHFATHER
     HEIDI MARIE BROWN,
14                                                      OTE ON MOTION CALENDAR:
                                  Respondent.             EDITED HEARING RE UESTED
15

16

17          Mother just committed a child abduction in the middle of the school year in France

18   and she is now refusing to disclose where the children are currently in the US or to let
19
     proper communication happen between Father and the children without supervision.
20
            The petitioner, Father, Arnaud Paris, moves for an order permitting his visitation
21
     and/or unsupervised communication with the parties' children during this Hague Action and
22

23   for this Honorable Court to ensure that Mother isn't manipulating the children, alienating

24   them against their Father and adding further strong psychological trauma onto them in

25   continuation to the abduction she just conducted from France taking our children on a
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     fugitive escape run from Europe avoiding border controls. Here are the recent facts
2

3
     supporting that request:

4           1.     On April 18th at 7.24pm PST Mother was in a car with the children and called

5    Father on the car speaker from a hidden number that's not her known number. Considering
6
     the time difference, it was 4.24am in France. The children were in the back of the car while
7
     Mother was front row to this discussion on car speaker as well. See attached Exhibit 04,
8
     showing the time Mother called in France on April 18th ("hier" in French means yesterday)
9

10   from an unknown number (''Numero masque").

11          2.     Over the short 2mn phone communication of which only 15 seconds were

12   really communication between Father and his children, Eva and Juliette said twice: "Dad
13
     you have to do what mum says or she will get angry!". Which indicates that the children are
14
     under some strong intimidation or even possibly a mental state of terror as a result from the
15

16
     abduction. This also shows signs of parental alienation against Father on the part ofMother

17   who has documented history of using psychological pressure onto her children.

18          3.     During this short phone call, Father asked if the children were safe and where
19
     they were since Father had had no news from Mother about the whereabouts of his children
20
     since they were kidnapped from France, except that they were back in the US. Mother
21
     literally hang up the phone on Father in the middle of the discussion because of that.
22

23          4.     It is to be noted that Father had always been establishing proper contact in

24   France between the children and their Mother, organizing calls several times a week and
25

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     always at decent hours for Mother being on the West Coast of the US. Father has always let
2

3    the co=unication from France happen in video with children being unsupervised.

4           5.     On April 17ili Mother sent an email to Father saying that she now gets to

5    choose the day she has the kids talk to Father per her local Oregon judgment. A judgment
6
     that was obtained in total contradiction to the French judgment that was first to file and first
7
     to judgment in France, and that Mother obtained also without Father having been allowed to
8
     defend himself. In this email Mother says to Father about the communication with the
9

10   children:

11          "The days for the calls are at my discretion - see page 19 ofthe attached. Per the
12          court order they would be between 6pm and 8pm. As I said in my last email, we will
13
            attempt to call you today and tomorrow evening. Ifyou are unable to make that time
14
            work, please let me know. "
15

16   (See attached Exhibit 02, email sent by Miss Brown to Mr. Paris on April 1?ili.)

17   Mother justified in this email that she can call Father in the middle of the night because

18   that's what her Oregon judgment was saying. Mother knew very well that Father is living in
19
     France and that the 6-Spm time from her judgment would be in the middle of the night in
20
     France and yet she makes no effort to have the communication to happen at decent hours.
21
     She easily could have organized these calls to be in the morning Oregon time which is
22

23   evening time in France.

24          6.       Mother also said in her email from April 17ilito Father that she could also
25

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     decide what day she would have children call Father. Which means that Mother could wake
2

3
     up Father or keep him up in the middle of the night any day she wants for him to be awake

4    to have a chance to speak with his children.

5           7.      It is now clear that Mother is using an Oregon judgment, that was obtained
6
     without due process and in bad faith while she was already participating in the French
7
     custody action, to damage the communication between the children and their Father. For
8
     that reason, it is crucial that this Honorable Court set aside that judgment from December
9

10   28th which is giving the possibility to Mother to force a of dictatorial relationship onto

11   Father and the children.
12
            8.      The judgment in question doesn't have to be given full faith and credit by this
13
     Honorable Court because it was obtained without due process and was in complete violation
14
     of Father's constitutional rights, especially when a Hague Action on the kidnapping of these
15

16
     very same children by Mother just happened from France and is in front of this Honorable

17   Court. See attached Exhibit 03, the email sent Father's US attorney explaining how he was

18   forbidden to participate and represent Father in the Oregon court. This behavior from the
19
     Oregon court to not give due process to a party to be defended is highly unconstitutional and
20
     constitutes a breach of Father's civil rights. This was recently confirmed by the Oregon
21
     Appellate Court decision in the Appeal Case number A181544. See attached Exhibit 01.
22

23          9.      More importantly, as part of the Oregon proceedings done without due

24   process that granted Mother that judgment from December 28th 2023, Mother obtained from
25

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     the Judge a warrant for Father's arrest in all states just because Father was in France under
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3
     his French judgment refusing to present himself in person to the court. Mother knew at that

4    time that she was going to commit a kidnapping and that she could as a result ensure that

5    Father would not be able to see his children again since he couldn't come back to the US
6
     due to that warrant for his arrest. This is another example of how Mother is implementing
7
     her plan to sever permanently the link between Father and the children.
8
            10.    For all these reasons it is crucial that the children don't become any further
9

10   victims of this situation and that they don't be influenced or manipulated by their mother

11   against Father and that a proper unsupervised and daily access be implemented to allow the

12   children to communicate with their Father. Preferably this daily connection to Father would
13
     have to happen in a place outside of Mother's home.
14

15

16
     LEGAL ARGUMENT:

17   This court has the legal authority to grant Mr. Paris access to/visitation and to have

18   unsupervised communication with the children.
19
     22 USC§ 9001(a)(4) states in pertinent part as follows:
20
     "The Convention on the Civil Aspects ofInternational Child Abduction, done at The Hague
21
     on October 25, 1980, establishes legal rights and procedures for the
22

23   prompt return of children who have been wrongfully removed or retained, as well

24   as for securing the exercise of visitation rights. (Emphasis added.)"
25

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     Additionally, 22 USC § 9004(a) states in pertinent part that:
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3
     "In furtherance ofthe objectives of article 7(b) and other provisions ofthe Convention, and

4    subject to the provisions ofsubsection (b) ofthis section, any court exercising jurisdiction of

5    an action brought under section 9003(b) ofthis title may take or cause to be taken measures
6
     under Federal or State law, as appropriate, to protect the well-being ofthe child
7
     involved[J (Emphasis added.)"
8
     Hague Convention Article 7(b) specifically provides for the fashioning of"provisional
9

10   remedies" to protect a child or avoid prejudice to "interested parties" such as the petitioner

11   herein.
12
     CONCLUSION AND PRAYER FOR RELIEF:
13
     For the foregoing reasons, Mr. Paris seeks entry of an expedited order granting him a
14
     direct line of communication with the children without Mother's supervision. Father
15

16
     remains ready and anxious to exercise continuous unsupervised communication with them

17   prior to the conclusion of this matter and asks that they each be given an apple watch with

18   parental control under Father's supervision to ensure that Mother isn't interfering with that
19
     communication and that a proper cell plan be activated by Mother on each of these watches
20
     (limited to communication only with Father and Mother).
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2

3                 DATED this 19th day of April, 2024, in Paris, France

4                                                       Submitted by:
                                                        Arnaud P      , Pro Per
5

6

7                                                     - ~
                                                    .__,,
                                                        13 rue Ferdinand Duval
8                                                       75004 Paris, FRANCE
                                                        +33.6.88.28.36.41
9

10
                                         VERIFICATION
11
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
12   of America that the foregoing is true and correct.
13
     SIGNED AND DATED this 19th day of April, 2024, in Paris, France.
14

15

16

17
                                       • Arnaud Paris
18

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2                          CERTIFICATE OF SERVICE
3       I hereby certify that I served the foregoing PETITIONER'S EMERGENCY MOTION FOR
        UNSUPERVISED AND DIRECT COMMUNICATION WITH FATHER on the following party:
4
                                             Heidi Marie Brown
5                                             2256 Abbott Ave
                                             Ashland, OR 97520
6                                          heidimparis@gmail.com
                                                 Respondent
7
     By the following method or methods:
8
     _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
9    prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office address of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
10   set forth below.

11   ..K._ by emailing full, true, and correct copies thereof to the attorney(s) at the email address
      shown above, which is the last known email address for the attorney(s) office, on the date set forth
12    below.

13   _ _ by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
     shown above, which is the last known fax number for the attorney(s) office, on the date set forth
14   below. The receiving fax machines were operating at the time of service and the transmission was
     properly completed.
15
     _ _ by selecting the individual(s) listed above as a service contact when preparing this electronic
16
     filing submission, thus causing the individual(s) to be served by means of the court's electronic filing
     system.
17
                   DATED this 19th day of April, 2024, in Paris, France.
18

19

20   By:_
     ARNAUD PARIS, Petitioner
21
     ARNAUD PARIS
22   13 rue Ferdinand Duval
     75004, PARIS, FRANCE
23   Telephone: +33688283641
     Email: aparis@sysmicfilms.com
24

25

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